                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF IOWA
                                 EASTERN DIVISION


UNITED STATES OF AMERICA,
                 Plaintiff,                                       No. 11-CR-2046-LRR
vs.                                                                 SEALED ORDER
DION THOMAS,
                 Defendant.

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                                        I. INTRODUCTION
         The matters before the court are: (1) Defendant Dion Thomas’s “Motion in Limine”
(“Defendant’s Motion in Limine”) (docket no. 146); (2) Defendant’s “Supplement to . . .
Motion in Limine” (“Defendant’s Supplemental Motion in Limine”) (docket no. 149); and
(3) the government’s “Motion[] in Limine” (“government’s Motion in Limine”) (docket
no. 147).


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                      II. RELEVANT PROCEDURAL HISTORY
       On December 8, 2011, a grand jury returned a six-count Indictment (docket no. 7)
against Defendant and others.       Count 1 of the Indictment charges Defendant with
conspiring to distribute and possess with intent to distribute 100 grams or more of a
mixture or substance containing a detectable amount of heroin after having been previously
convicted of a drug felony. Such offense is a violation of 21 U.S.C. §§ 841(a)(1),
841(b)(1)(B), 846 and 851. Count 3 of the Indictment charges Defendant with knowingly
and intentionally distributing .54 grams of a mixture or substance containing a detectable
amount of heroin after having been previously convicted of a drug felony. Such offense
is a violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(C) and 851. The Indictment also
contains a forfeiture allegation.
       On August 6, 2012, Defendant filed Defendant’s Motion in Limine.1 On the same
date, the government filed the government’s Motion in Limine. On August 9, 2012,
Defendant filed Defendant’s Supplemental Motion in Limine.2 On August 13, 2012, the
government filed a Resistance (docket no. 151) to Defendant’s Motion in Limine and
Supplemental Motion in Limine. Defendant has not filed a resistance to the government’s
Motion in Limine, and the time for doing so has expired. See Criminal Trial Scheduling
Order (docket no. 78) at 2; LCrR 47(a). Neither party requests a hearing, and the court
finds that a hearing is unnecessary. The matters are fully submitted and ready for
decision.




       1
       The court notes that Defendant failed to submit a separate brief in accordance with
Local Rule 7. Nevertheless, the court shall address Defendant’s Motion in Limine.
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        Once again, Defendant failed to submit a separate brief in accordance with Local
Rule 7. Nevertheless, the court shall address Defendant’s Supplemental Motion in Limine.

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                                     III. ANALYSIS
                           A. Defendant’s Motion in Limine
       In Defendant’s Motion in Limine, Defendant asks the court to exclude from
evidence: (1) the fact that Defendant was in jail at the time he made a recorded phone call
to Arthur Scott; (2) the government’s cooperating witnesses’ written plea agreements; (3)
a statement by an alleged coconspirator; and (4) hearsay testimony from law enforcement
that a particular telephone number was Defendant’s telephone number. The court shall
address each category of evidence in turn.
       1.     Context of recorded phone calls
       First, Defendant “anticipates that the [government] will present evidence that
[Defendant] placed a recorded phone call to Arthur Scott” on January 13, 2011, from the
Linn County Jail. Defendant’s Motion in Limine at 1. Defendant was in jail on a charge
unrelated to the instant case, and, according to Defendant, he made the call in an effort to
get money that Scott owed him so that he could bond out of jail. Defendant contends that
the fact that he was in jail when he placed the call is not relevant, is “substantially
prejudicial” under Federal Rule of Evidence 403 and is inadmissible as a prior bad act
under Federal Rule of Evidence 404(b). Id. at 1-2.
       In the Resistance, the government argues that the fact that Defendant was in jail at
the time of the calls is admissible.3 According to the government, providing the context
of the calls is important because, during the calls, Defendant instructs Scott to send money
to a third party and instructs Scott on where to locate additional drugs. The government
contends that the fact Defendant was in jail explains why he did not send the money and
locate the drugs himself. Additionally, the government notes that, during one of the calls,



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         Although Defendant identifies one specific call—the January 13, 2011 call—the
government’s Resistance and Trial Memorandum discuss multiple calls Defendant made
to Scott from jail.

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Defendant states, “I got something else for ya but I can’t really talk on this phone like
that.” Government’s Trial Memorandum (docket no. 148) at 6 (internal quotation marks
omitted). The government contends that the fact that Defendant was in jail explains why
he was not free to“talk on [the] phone like that.” Id. (internal quotation mark omitted).
The government notes that, although it intends to provide the context of the phone calls,
it does not intend to elicit testimony regarding why Defendant was in jail. The government
further notes that the calls took place over a relatively short period of time and, thus, the
jury would not be left to speculate why Defendant was in jail for an extended period.
       For the reasons set forth in the government’s Resistance and Trial Memorandum,
the court finds that the context of the recorded phone calls—specifically, the fact that
Defendant was in jail at the time of the calls—is relevant. Furthermore, because the calls
took place over a short period of time and the government does not intend to present
evidence explaining why Defendant was in jail, the court finds that the probative value of
the calls is not substantially outweighed by the danger of unfair prejudice. See Fed. R.
Evid. 403. Finally, the mere fact that Defendant was in jail does not constitute a prior bad
act under Rule 404(b). Accordingly, the court shall deny Defendant’s Motion in Limine
to the extent it seeks to exclude evidence that Defendant was in jail at the time he made
recorded phone calls to Scott.
       2.     Written plea agreements
       Next, Defendant requests that the court enter a pretrial ruling excluding the “written
plea agreements of government witnesses.”          Defendant’s Motion in Limine at 2.
Defendant contends that the plea agreements are hearsay and, furthermore, are
inadmissible under Rule 403. In the Resistance, the government states that it does not
intend to offer cooperating witnesses’ written plea agreements into evidence. Thus, the
court shall grant Defendant’s Motion in Limine to the extent it seeks to exclude such
evidence.


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       3.     Coconspirator statement
       Next, Defendant argues that the court should exclude from evidence an alleged
coconspirator’s statement to another individual that Defendant supplied the coconspirator
with heroin. Defendant contends that such statement is not in furtherance of the alleged
conspiracy and, therefore, the statement is not admissible under Federal Rule of Evidence
801(d)(2)(E). In the Resistance, the government argues that the statement is in furtherance
of the conspiracy because it relates to the coconspirator’s supplier.
       Under Rule 801(d)(2)(E), a coconspirator’s statement made during and in
furtherance of the conspiracy is admissible as nonhearsay. For a statement to fall within
the scope of Rule 801(d)(2)(E), the government must prove by a preponderance of the
evidence that a conspiracy existed, that the defendant and the declarant were members of
the conspiracy and that the declarant made the statement during the course of and in
furtherance of the conspiracy. United States v. Bell, 573 F.2d 1040, 1043 (8th Cir. 1978).
The “in furtherance of” requirement is satisfied if the statement “identifies one or more
of the following: participants in the conspiracy; their roles in the conspiracy; the method
of distribution; or the source for the drugs that are the subject of the conspiracy.” United
States v. Cazares, 521 F.3d 991, 999 (8th Cir. 2008).
       In Bell, the Eighth Circuit Court of Appeals outlined the appropriate procedure for
a district court to follow “when the admissibility of a coconspirator’s statement is at
issue.” Bell, 573 F.2d at 1044. If the government “propounds a question which obviously
requires a witness to recount an out-of-court declaration of an alleged coconspirator, the
court, upon a timely and appropriate objection by the defendant, may conditionally admit
the statement.” Id. At the conclusion of all the evidence, the court “make[s] an explicit
determination for the record regarding the admissibility of the statement.” Id.; see also
United States v. Spotted Elk, 548 F.3d 641, 661 (8th Cir. 2008) (discussing the
Bell procedures).


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       The court notes that it appears the challenged statement relates to participants in the
conspiracy, their roles in the conspiracy, the method of distribution and a particular
coconspirator’s source for the drugs. See Cazares, 521 F.3d at 999. However, the court
declines to make a pretrial ruling on the admissibility of the challenged statement.
Defendant may object at the appropriate time pursuant to the established procedures.
Accordingly, the court shall deny Defendant’s Motion in Limine to the extent it seeks to
exclude the challenged statement because such request is premature.
       4.     Hearsay testimony regarding Defendant’s telephone number
       Finally, Defendant contends that “any statement by a police officer that someone
else told him or her that the [phone] number in question was [Defendant’s] phone number
is inadmissible hearsay.” Defendant’s Motion in Limine at 5. In the Resistance, the
government states that it “intends to use non-hearsay sources to connect the phone number
with . . . Defendant, including testimony identifying the voice on the calls as . . .
Defendant’s and that [the particular number] is the number witnesses used to contact
[Defendant].” Resistance to Defendant’s Motion in Limine and Supplemental Motion in
Limine at 3. Thus, the court shall grant Defendant’s Motion in Limine to the extent it
seeks to exclude hearsay testimony regarding Defendant’s telephone number.
                    B. Defendant’s Supplemental Motion in Limine
       In Defendant’s Supplemental Motion in Limine, Defendant asks the court to exclude
evidence that Defendant allegedly distributed crack cocaine during the same time period
as the alleged heroin conspiracy. Defendant contends that such evidence is inadmissible
under Rule 404(b). Defendant claims that any alleged cocaine transactions are not relevant
to whether he joined a conspiracy to distribute heroin, and, furthermore, there is
insufficient evidence of the alleged cocaine sales.
       In the Resistance, the government incorporates its arguments from its Motion in
Limine. The government contends that Defendant’s distribution of crack cocaine is not a


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prior bad act but, rather, is part of the res gestae of the conspiracy. Alternatively, the
government argues that such evidence is admissible under Rule 404(b) to show motive,
opportunity, intent, preparation, plan, knowledge, absence of mistake or lack of accident.
       1.     Res gestae
       First, the government contends that Defendant’s crack cocaine distribution activities
are “part and parcel” of the charged conspiracy.            Memorandum in Support of
Government’s Motion in Limine at 2. Specifically:
              The [government] anticipates that several witnesses will testify
              that they received both crack cocaine and heroin from . . .
              [D]efendant, and that . . . [D]efendant brought both crack
              cocaine and heroin with him to Waterloo from Chicago. The
              [government] anticipates that an additional witness will testify
              that he received large quantities of crack cocaine from . . .
              [D]efendant. These activities occurred during the same time
              period as the charged conspiracy, involved the same group of
              people, and trips from Chicago to Waterloo.
Id. at 2-3.
       “One of the exceptions to the general rule that evidence of other crimes committed
by a defendant is inadmissible is when the proof provides the context in which the charged
crime occurred—‘the res gestae.’” United States v. Fleck, 413 F.3d 883, 890 (8th Cir.
2005) (quoting United States v. Moore, 735 F.2d 289, 292 (8th Cir. 1984)). Res gestae
evidence includes evidence that “completes the story or provides a total picture of the
charged crime” or evidence that is “so blended or connected” with the charged crime that
“proof of one incidentally involves the other.” Id. (emphasis omitted) (quoting United
States v. Forcelle, 86 F.3d 838, 841, 842 (8th Cir. 1996)) (internal quotation mark
omitted). “Although res gestae evidence sometimes implicates the defendant in other acts,
we have concluded that where acts are inextricably intertwined with the charged crime,
they are not extrinsic, and thus not merely character evidence governed by Federal Rule
of Evidence 404(b).” United States v. LaDue, 561 F.3d 855, 858 (8th Cir. 2009).


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       For the reasons set forth by the government, the court agrees that Defendant’s crack
cocaine distribution activities, although uncharged, are “part and parcel,” Memorandum
in Support of Government’s Motion in Limine at 2, of the charged conspiracy. During the
relevant period, Defendant transported both crack cocaine and heroin from Chicago to
Waterloo and distributed both drugs to the same customers. The court finds that such
evidence is “so blended or connected,” Fleck, 413 F.3d at 890 (quoting Forcelle, 86 F.3d
at 841), with the charged heroin conspiracy that it is not extrinsic to the charged crime but,
rather, is res gestae. Therefore, the court shall deny Defendant’s Supplemental Motion
in Limine on this ground.
       2.     Rule 404(b)
       Alternatively, the government argues that evidence of Defendant’s crack cocaine
distribution is admissible pursuant to Rule 404(b) to show motive, opportunity, intent,
preparation, plan, knowledge, absence of mistake or lack of accident. The court agrees.
       Rule 404(b) provides that evidence of other crimes is not admissible to show a
defendant’s propensity to commit crime; however, such evidence may be admissible for
other purposes, such as proof of “motive, opportunity, intent, preparation, plan,
knowledge, identity, absence of mistake, or lack of accident.” Fed. R. Evid. 404(b).
“[Rule 404(b)] is a rule of inclusion, such that evidence offered for permissible purposes
is presumed admissible absent a contrary determination.” United States v. Johnson, 439
F.3d 947, 952 (8th Cir. 2006). The Eighth Circuit has adopted a four-factor test to
determine the admissibility of Rule 404(b) evidence:
       To be admissible, Rule 404(b) evidence “must (1) be relevant to a material
       issue raised at trial, (2) be similar in kind and close in time to the crime
       charged, (3) be supported by sufficient evidence to support a finding by a
       jury that the defendant committed the other act, and (4) not have a
       prejudicial value that substantially outweighs its probative value.”
Id. (quoting United States v. Kern, 12 F.3d 122, 124-25 (8th Cir. 1993)).



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       In this case, Defendant argues that the government has failed to satisfy the first and
third factors. Specifically, Defendant contends that evidence that he distributed crack
cocaine is not relevant to issues of knowledge or intent because he is not claiming that he
joined the heroin conspiracy by mistake or accident—rather, he is asserting a general
denial defense. The court finds that Defendant’s argument is unavailing. When a
defendant pleads not guilty and elects to proceed to trial, the government “shoulder[s] the
burden of introducing proof beyond a reasonable doubt of every element of each offense
charged.” United States v. Thomas, 593 F.3d 752, 757-58 (8th Cir. 2010) (discussing the
United States Supreme Court’s decision in Old Chief v. United States, 519 U.S. 172
(1997)). Because intent and knowledge are elements of the charged crimes—which
Defendant does not dispute—the court finds that evidence that Defendant distributed crack
cocaine is relevant to show Defendant’s intent and knowledge in committing the charged
crimes. See United States v. Robinson, 639 F.3d 489, 494 (8th Cir. 2011) (“[A] prior
conviction for distributing drugs, and even the possession of user-quantities of a controlled
substance, are relevant under Rule 404(b) to show knowledge and intent to commit a
current [drug-trafficking] charge.” (quoting United States v. Frazier, 280 F.3d 835, 847
(8th Cir. 2002)) (internal quotation mark omitted)); see also United States v. Marquez-
Alvarado, 501 F.3d 971, 974 (8th Cir. 2007) (finding that, although the defendant was
charged with participating in a marijuana conspiracy, evidence that he was involved in
cocaine transactions during the same period as the charged conspiracy was relevant to the
issues of intent and knowledge).
       Defendant also argues that there is insufficient evidence to support a finding that
Defendant distributed crack cocaine. Defendant claims that “there is no evidence that
[Defendant] actually sold cocaine apart from vague (regarding time and place) claims by
a person alleged to be an accomplice to the sales.” Defendant’s Supplemental Motion in
Limine at 2. The government contends, however, that several witnesses will testify that


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Defendant sold them crack cocaine and one witness will testify that he received a large
quantity of crack cocaine. Direct testimony that a defendant participated in a prior act is
sufficient to support a jury finding that the prior act occurred. See Marquez-Alvarado, 501
F.3d at 975; see also United States v. Evans, 697 F.2d 240, 249 (8th Cir. 1983) (holding
that the uncorroborated testimony of a government witness is sufficient to satisfy the more
demanding clear and convincing test).
       The court finds that the other Rule 404(b) factors are satisfied. Thus, even if the
court found that the evidence that Defendant distributed crack cocaine was not so
intertwined with the heroin conspiracy to be admissible as res gestae, the court would
nevertheless find such evidence to be admissible under Rule 404(b). Accordingly, the
court shall deny Defendant’s Supplemental Motion in Limine.
                          C. Government’s Motion in Limine
       In the government’s Motion in Limine, the government asks the court to admit
evidence that Defendant distributed crack cocaine during the same time period as the
heroin conspiracy. For the reasons set forth above, the court shall grant the government’s
Motion in Limine to the extent it seeks to admit such evidence.
       The government also asks the court to exclude from evidence “a jailhouse letter
allegedly written by K.M. to . . . [Defendant].”            Memorandum in Support of
Government’s Motion in Limine at 5 (footnote omitted). The government contends that
the letter is irrelevant and hearsay. Because Defendant did not file a resistance, the court
shall grant the government’s Motion in Limine to the extent it seeks to exclude such
evidence.
                                   IV. CONCLUSION
       Thus, for the foregoing reasons, it is HEREBY ORDERED:
       (1)    Defendant’s Motion in Limine (docket no. 146) is GRANTED IN PART
              and DENIED IN PART;


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   (2)   Defendant’s Supplemental Motion in Limine (docket no. 149) is DENIED;
   (3)   The government’s Motion in Limine (docket no. 147) is GRANTED; and
   (4)   The parties must not directly or indirectly refer to or elicit answers from
         witnesses on the prohibited subjects.     Each party is charged with the
         responsibility of cautioning its witnesses as to the substance of this Order.
         If during the presentation of evidence a party believes that a prohibited
         subject has become relevant, the party may request an opportunity to argue
         relevance outside the presence of the jury.
   IT IS SO ORDERED.
   DATED this 23rd day of August, 2012.




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